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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC

                       Plaintiff,
                                                         Civil Action No. 2:23-cv-419-JRG-RSP
v.
                                                            JURY TRIAL DEMANDED
VALVE CORPORATION,
GEARBOX SOFTWARE, LLC
             Defendant.


DEFENDANT VALVE CORPORATION’S CORPORATE DISCLOSURE STATEMENT


       Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiff Valve Corporation (“Valve”)

hereby states that it has no parent corporation, no publicly held corporation owns 10% or more of

Valve stock, and there is no parent, shareholder, member, or partner to identify as required by

Fed. R. Civ. P. 7.1.




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Dated: November 6, 2023              Respectfully submitted,


                                     /s/ Michael E. Jones
                                     Michael E. Jones (SBN: 10929400)
                                     Shaun W. Hassett (SBN: 24074372)
                                     Potter Minton
                                     102 North College, Ste. 900
                                     Tyler, Texas 75702
                                     Telephone: 903-597-8311
                                     mikejones@potterminton.com
                                     shaunhassett@potterminton.com

                                     Kathleen R. Geyer
                                     Christopher P. Damitio
                                     Kilpatrick Townsend & Stockton
                                     1420 Fifth Avenue Suite 3700
                                     Seattle, WA 98101
                                     Telephone: (206) 467-9600
                                     Facsimile: (206) 623-6793
                                     KGeyer@kilpatricktownsend.com
                                     CDamitio@kilpatricktownsend.com

                                     Attorneys for Defendant
                                     Valve Corp.




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